                      Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 1 of 6


            1    LAUREN M. BLAS, SBN 296823                      MATTHEW M. LAVIN (pro hac vice)
                   lblas@gibsondunn.com                            Matt.Lavin@agg.com
            2    GIBSON, DUNN & CRUTCHER LLP                     AARON R. MODIANO (pro hac vice)
                 333 South Grand Avenue                            Aaron.Modiano@agg.com
            3    Los Angeles, CA 90071-3197                      ARNALL GOLDEN GREGORY LLP
                 Telephone: 213.229.7000                         1775 Pennsylvania Ave NW, Suite 1000
            4    Facsimile: 213.229.7520                         Washington, DC 20006
                                                                 Telephone: 202.677.4030
            5    GEOFFREY SIGLER (pro hac vice)
                   gsigler@gibsondunn.com                        DAVID M. LILIENSTEIN, SBN 218923
            6    GIBSON, DUNN & CRUTCHER LLP                       david@dllawgroup.com
                 1050 Connecticut Avenue, N.W.                   KATIE J. SPIELMAN, SBN 252209
            7    Washington, D.C. 20036-5306                       katie@dllawgroup.com
                 Telephone: 202.99.8500                          DL LAW GROUP
            8    Facsimile: 202.467.0539                         345 Franklin Street
                                                                 San Francisco, CA 94102
            9    Attorneys for Defendants UNITED                 Telephone: 415. 678.5050
                 BEHAVIORAL HEALTH and UNITED                    Facsimile: 415.358.8484
           10    HEALTHCARE INSURANCE COMPANY
                                                                 Attorneys for PLAINTIFFS
           11
                                                                 [ADDITIONAL COUNSEL LISTED ON
           12                                                    SIGNATURE PAGE]
           13

           14
                                                 UNITED STATES DISTRICT COURT
           15
                                              NORTHERN DISTRICT OF CALIFORNIA
           16
                                                         OAKLAND DIVISION
           17
                 LD, DB, BW, RH and CJ, on behalf of             CASE NO. 4:20-cv-02254-YGR
           18    themselves and all others similarly situated,
                                                                 SECOND JOINT STIPULATION AND
           19                           Plaintiffs,              [PROPOSED] ORDER TO EXTEND
                                                                 DEADLINES
           20           v.
                                                                 ** AS AMENDED BY THE COURT**
           21    UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN,           Hon. Yvonne Gonzalez Rogers
           22    INC., a New York corporation,
                                                                 Complaint filed: April 2, 2020
           23                           Defendants.
                                                                 Third Amended Complaint filed: Sept. 10, 2021
           24

           25

           26

           27

           28

Gibson, Dunn &    SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                             02254
                       Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 2 of 6


            1           Under Civil Local Rule 6-2 and 7-12, all parties in this case hereby stipulate and agree to the
            2    following schedule modifications, subject to this Court’s approval. The parties have met and conferred
            3    and agreed on the following modifications to the current schedule which is set forth in the Court’s
            4    December 8, 2021 Order granting the parties’ prior joint stipulation to extend deadlines (Dkt. 115).
            5    For the reasons set out below, the parties respectfully submit that good cause exists for the following
            6    modifications.
            7           In further support of this Stipulation, the Parties state as follows:
            8           WHEREAS the Court entered its Order on December 8, 2021 setting the following deadlines:
            9    deadline to complete initial, court-ordered, private mediation extended to December 8, 2021; non-
           10    expert discovery cutoff extended to April 18, 2022; Plaintiffs’ Motion for Class Certification extended
           11    to May 19, 2022 or 45 days after ruling on the Standard of Review Motion, whichever is later;
           12    Defendants’ Opposition to Class Certification extended to June 30, 2022 or 42 days (6 weeks) after
           13    motion; Plaintiffs’ Reply in Support of Class Certification extended to August 11, 2022 or 42 days (6
           14    weeks) after opposition; Hearing on Class Certification Motion extended to August 30, 2022 at 2:00
           15    pm.
           16           WHEREAS, the Court entered its Order on the standard of review motion on January 12, 2022.
           17           WHEREAS, the parties have also served third-party subpoenas on 26 plan sponsors (served by
           18    Plaintiffs on January 21, 2022) and 25 providers (served by the United Defendants on March 9, 2022),
           19    and most of these third parties are still in the process of responding to these subpoenas.
           20           WHEREAS, although the parties have made substantial progress on discovery, more remains
           21    to be done; for example, some aspects of the United Defendants’ ESI productions remain under
           22    discussion and there is presently a pending dispute before Magistrate Judge Spero regarding discovery
           23    issues set to be heard on April 1, 2022. Defendants also need more time to complete their document
           24    productions.
           25           WHEREAS, the parties have begun working out dates for depositions of fact witnesses.
           26    However, for efficiency, the parties agree that those productions must be substantially completed prior
           27    to commencing depositions of fact witnesses.
           28
                                                                     2
Gibson, Dunn &    SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                             02254
                       Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 3 of 6


            1           WHEREAS, the parties have continued to be in regular contact on all of these discovery
            2    matters, having calls on an almost bi-weekly basis among counsel to confer on discovery issues and
            3    other matters to try to address these issues proactively and efficiently whenever possible.
            4           WHEREAS, notwithstanding the efforts described above, the parties require additional time to
            5    complete the discovery and brief issues relating to class certification.
            6           WHEREAS, the Court has granted one previous extension to the deadlines that are the subject
            7    of this stipulation (Dkt. 115);
            8           WHEREAS, nothing in this Joint Stipulation alters any other rights, and the parties expressly
            9    reserve the right to seek further relief from the Court as necessary.
           10           NOW, THEREFORE, subject to the approval of the Court, and for good cause shown, the
           11    parties hereby stipulate and agree to extend the Case Schedule by approximately three months as
           12    follows:
           13                        Event                    Current Deadline                   New Deadline
           14        Non-Expert Discovery Cutoff April 18, 2022                          July 15, 2022
           15        related to class certification
           16        Plaintiffs’ Motion for Class May 19, 2022 or 45 days                August 17, 2022
           17        Certification                       after ruling on the Standard
           18                                            of Review Motion,
           19                                            whichever is later.
           20        Defendants’       Opposition     to June 30, 2022 or 42 days (6     September 28, 2022 or 42 days
           21        Class Certification                 weeks) after motion.            (6 weeks) after motion.
           22        Plaintiffs’ Reply in Support of August 11, 2022 or 42 days          November 9, 2022 or 42 days
           23        Class Certification                 (6 weeks) after opposition      (6 weeks) after opposition.
           24        Hearing on Class Certification August 30, 2022 at 2:00 pm November 29, 2022 at 2:00 p.m.
           25        Motion
           26           A proposed order is submitted concurrently.
           27           IT IS SO STIPULATED.
           28
                                                                     3
Gibson, Dunn &     SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                              02254
                      Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 4 of 6


            1    DATED: April 1, 2022
                                                       GIBSON, DUNN & CRUTCHER LLP
            2

            3
                                                       By: /s/ Geoffrey Sigler
            4                                                             Geoffrey Sigler
            5                                          Attorneys for Defendants UNITED BEHAVIORAL
                                                       HEALTH and UNITED HEALTHCARE INSURANCE
            6                                          COMPANY
            7
                 DATED: April 1, 2022                  PHELPS DUNBAR LLP
            8

            9
                                                       By: /s/ Errol King
           10                                                                 Errol King
           11                                          Attorneys for Defendant MULTIPLAN, INC.
           12                                          MOE KESHAVARZI, SBN 223759
                                                       E-Mail: mkeshavarzi@sheppardmullin.com
           13                                          DAVID DWORSKY, SBN 272167
                                                       E-Mail: ddworsky@sheppardmullin.com
           14                                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                                       333 South Hope Street, 43rd Floor
           15                                          Los Angeles, California 90071
                                                       Telephone: 213.620.1780
           16                                          Facsimile: 213.620.1398
           17                                          ERROL J. KING, JR. (admitted pro hac vice)
                                                       PHELPS DUNBAR LLP
           18                                          II City Plaza, 400 Convention Street, Suite 1100
                                                       Baton Rouge, Louisiana 70802
           19                                          Telephone: (225) 376-0207
                                                       Facsimile: (225) 381-9197
           20                                          Errol.King@phelps.com
           21
                 Dated: April 1 , 2022                 ARNALL GOLDEN GREGORY LLP
           22

           23
                                                       By: /s/ Matthew M. Lavin
           24                                                          Matthew M. Lavin
           25
                 Dated: April 1, 2022                  DL LAW GROUP
           26

           27

           28
                                                           4
Gibson, Dunn &    SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                             02254
                    Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 5 of 6


            1                                         By: /s/ David Lilienstein
                                                                         David Lilienstein
            2

            3
                                                      Attorneys for PLAINTIFFS
            4

            5

            6

            7

            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                          5
Gibson, Dunn &   SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                            02254
                      Case 4:20-cv-02254-YGR Document 130 Filed 04/21/22 Page 6 of 6


            1                                            [PROPOSED] ORDER
            2           Having considered the parties’ Joint Stipulation and [Proposed] Order to Extend Deadlines,

            3    the Court HEREBY ORDERS as follows:

            4
                                      Event                                           New Date
            5
                 Non-Expert Discovery Cutoff                                         July 15, 2022
            6
                 Plaintiffs’ Motion for Class Certification                        August 17, 2022
            7
                 Defendants’ Opposition to Class Certification       September 28, 2022 or 42 days (6 weeks) after
            8
                                                                                        motion.
            9
                 Plaintiffs’ Reply in Support of Class               November 9, 2022 or 42 days (6 weeks) after
           10    Certification
                                                                                   opposition.
           11                                                               December 6, 2022
                 Hearing on Class Certification Motion                     November 29, 2022 at 2:00 p.m.
           12
                  No further extensions will be granted absent extraordinary and compelling reasons.
           13           PURSUANT TO STIPULATION, IT IS SO ORDERED.
           14

           15
                 Dated: April 21, 2022               _________________________________________________
           16
                                                               The Hon. Yvonne Gonzalez Rogers
           17                                                 UNITED STATES DISTRICT JUDGE

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                                 6
Gibson, Dunn &    SECOND JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND DEADLINES – CASE NO. 4:20-CV-
Crutcher LLP                                             02254
